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7
8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )       1:10-CR-00347-LJO
                                        )
12                    Plaintiff,        )       ORDER FOR FORFEITURE
                                        )       MONEY JUDGMENT
13          v.                          )
                                        )
14   MICHAEL IAN CONWAY,                )
                                        )
15                    Defendant.        )
                                        )
16                                      )
17          Based upon the United States’ Application for Forfeiture Money
18   Judgment and the plea agreement entered into between plaintiff
19   United States of America and defendant Michael Ian Conway,
20          IT IS HEREBY ORDERED that
21          1.   The defendant Michael Ian Conway shall forfeit to the
22   United States the sum of $57,666.86 and that the Court imposes a
23   personal forfeiture money judgment against defendant in that amount.
24          2.   Any funds applied towards such judgment shall be forfeited
25   to the United States of America and disposed of as provided for by
26   law.    Prior to the imposition of sentence, any funds delivered to
27   the United States to satisfy the personal money judgment shall be
28   seized and held by the United States Secret Service, in its secure

                                            1           Order for Forfeiture Money Judgment
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1    custody and control.
2             3.      This Order of Forfeiture shall become final as to the
3    defendant at the time of sentencing and shall be made part of the
4    sentence and included in the judgment.
5             4.      The United States may, at any time, move pursuant to Rule
6    32.2(e) to amend this Order of Forfeiture to substitute property
7    having a value not to exceed $57,666.86 to satisfy the money
8    judgment in whole or in part.
9    IT IS SO ORDERED.
10   Dated:        May 26, 2011              /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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                                             2            Order for Forfeiture Money Judgment
